Case 1:22-cv-00156-TSK Document 105 Filed 06/17/24 Page 1 of 3 PageID #: 699




                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 MARK R. LEE, M.D.,
                                                      Civil Action No. 1:22-cv-156

                              Plaintiff,              Judge Thomas S. Kleeh

                       v.


 WEST VIRGINIA UNIVERSITY, WEST
 VIRGINIA UNIVERSITY SCHOOL OF
 MEDICINE and WEST VIRGINIA
 MEDICAL CORPORATION d/b/a
 UNIVERSITY HEALTH ASSOCIATES,
                                                      JURY TRIAL DEMANDED
                              Defendants.



      NOTICE OF SERVICE OF PLAINTIFF’S THIRD SET OF REQUESTS FOR
    PRODUCTION OF DOCUMENTS DIRECTED TO DEFENDANT WEST VIRGINIA
       MEDICAL CORPORATION d/b/a UNIVERSITY HEALTH ASSOCIATES


               AND NOW, comes Plaintiff, Mark R. Lee, M.D., by and through his undersigned counsel,

JonesPassodelis, PLLC, and files the within Notice of Service of Plaintiff’s Third Set of Requests

for Production of Documents Directed to Defendant West Virginia Medical Corporation d/b/a

University Health Associates, which was served on the Defendant, through their counsel of record,

by Electronic Mail on the 17th day of June, 2024. A copy of the Certificate of Service and cover

page for the aforementioned discovery requests are attached hereto as Exhibit “A.”




{W0321807.1}
Case 1:22-cv-00156-TSK Document 105 Filed 06/17/24 Page 2 of 3 PageID #: 700




                                   JONESPASSODELIS, PLLC


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{W0321807.1}                         2
Case 1:22-cv-00156-TSK Document 105 Filed 06/17/24 Page 3 of 3 PageID #: 701




                                      CERTIFICATE OF SERVICE


               The undersigned hereby certifies that a true and correct copy of the foregoing document

has been forwarded to counsel of record by:

                                          U.S. First Class Mail, Postage Paid
                                    _____ Hand Delivery
                                    _____ Certified Mail, Return Receipt Requested
                                          E-Mail
                                    _____ Facsimile Transmittal
                                    _____ UPS Delivery
                                      X Electronic Filing/Service
at the following address:




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                                           Charleston, WV 25322
                         (Counsel for Defendant, West Virginia Medical Corporation
                                     d/b/a University Health Associates)




                                                   JONESPASSODELIS, PLLC

Date: June 17, 2024                                s/Marie Milie Jones
                                                   MARIE MILIE JONES, Esquire
                                                   CONSTANTINE J. PASSODELIS, Esquire

                                                   Counsel for Plaintiff




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